                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 July 23, 2015
                              No. 10-13-00409-CR
                               ADAM LAMAR BROOKS
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                      From the County Court at Law No. 1
                             Brazos County, Texas
                       Trial Court No. 11-01734-CRM-CCL1
                                       
--------------------------------------------------------------------------------
JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on November 14, 2013, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

